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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GARFIELD REDDICK, on behalf of himself
individually and all other similarly situated,
                                                 Civil Action No.:
      Plaintiff,

v.

HEWLETT-PACKARD COMPANY; HP
ENTERPRISE SERVICES, LLC; HEWLETT-
PACKARD ENTERPRISE CO.; HP, Inc.; and
DXC TECHNOLOGY SERVICES, LLC,

      Defendants.

                                  COMPLAINT

      Plaintiff Garfield Reddick (“Mr. Reddick” or “Plaintiff”), by and though

counsel, Hogue & Belong and in support of his causes of action against

Defendants, states and alleges as follows:

                        PRELIMINARY STATEMENT

1.    Plaintiff Reddick files this Complaint against Defendants Hewlett-Packard

Company (“HP Co.”), Hewlett-Packard Enterprise Co. (“HPE”), HP Enterprise

Services, LLC (“HPS”), HP, Inc. (“HPI”), and DXC Technology Services, LLC

(“DXC”) (collectively “HP” or “Defendants”) individually and on behalf of all

those similarly situated employees (“Plaintiffs” or the “Class”) as a result of

Defendants’ discrimination against them on the basis of age. Defendants adversely


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altered the terms and conditions of Plaintiffs’ employment, denied Plaintiffs the

opportunities that other employees outside their protected class received, and

terminated their employment, in violation of state and federal law.

2.    Plaintiff brings     claims   against       Defendants pursuant to   the Age

Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621-634 (“ADEA”).

                                      PARTIES

3.    Plaintiff Reddick is and, at all times relevant to the Complaint, was a

resident of Georgia. At all relevant times, Reddick was a member of the protected

class of individuals recognized under the ADEA. Plaintiff Reddick was 57 years

old at the time he was terminated by HP.

4.    At all material times, HP conducted business within the United States. One

of HP’s headquarters and principal place of business is located in Alpharetta,

Georgia. Alpharetta, Georgia is one of the locations where HP directs, controls,

and coordinates its business operations.

5.    HP has gone through significant corporate restructuring.         Below is an

organizational chart of that restructuring:




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6.    The above-referenced entities are one interrelated enterprise. Despite the

fact that they are different entities, those differences are in name only. All the

aforementioned entities share a unity of interest and all are co-conspirators for the

acts described below.

7.    The above-referenced Defendants are also the joint employers of each other.

Those entities share common control, management, resources, and employment

policies.



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8.    The Defendants – even though technically “separate” entities – all utilize the

exact same Workforce Reduction Plan (“WFR”).

9.    The WFR is the centerpiece of Defendants’ discriminatory practices.

10.   The implementation of the WFR first began with HP Co. in 2012. Then, in

2015, HP Co. started splintering off into different affiliated entities.

Notwithstanding splitting off from HP Co, except for the title, the terms of the

WFR remained the same among the various affiliated HP entities.

11.   Based on information and belief, Defendants have one concerted effort to

maintain consistency regarding the WFR; as such, they have a team of high-

ranking individuals coordinate the WFR to assure it remains uniform.

12.   When one of Defendants’ employees brings an age discrimination claim

premised on the WFR, and then settles that claim, he is made to settle with all of

Defendants’ entities.    Accordingly, Defendants’ act as one single integrated

enterprise and the alter egos of one another.

13.   In 2015, Hewlett-Packard Company “theoretically” split in two companies –

HPE and HPI. This split, however, was in name only. After the split, every

shareholder who owned a share of Hewlett-Packard Company was assigned one

share of HPE and one share of HPI. These shareholders retain ultimate control of

all significant decisions and equal financial control.




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14.       HPI and HPE’s corporate headquarters 1 and nerve centers are located in Palo

Alto, California where they manage, direct, coordinate and control their business

operations.

15.       Moreover, the chief executive officers of both HPE and HPI both worked for

Hewlett-Packard Company at the time of the split and they closely communicated

with one another about employees and business operations, including future plans

regarding the WFR.

16.       All the aforementioned entities are interrelated and integrated such that each

and every entity had the right to control each others’ employees. Further, the

policies and practices that governed the rights of the employees were all the same.

In other words, all of the entities act in unison and operate, in reality, as a single

entity.

17.       HPE and HPI knew about each other’s discriminatory practices described

below, and ratified those practices. Both entities promoted, perpetuated, and they

helped facilitate one another’s age discrimination. Specifically, they both knew

that they favored younger employees over and to the detriment of older employees,

and they both utilized the WFR to enforce their policy of disproportionately

terminating and not rehiring age-protected workers.



1
 In approximately March 2019, HPE moved its corporate headquarters from Palo
Alto, California to San Jose, California.
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                         JURISDICTION AND VENUE

18.   Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, 1343(3),

and (4), 1367, 2201 and 2202, 42 U.S.C. 2000d-2 and 2000e5(f), and 29 U.S.C. §

621, et seq.

19.   This is a suit authorized and instituted pursuant to the Age Discrimination in

Employment Act of 1967, 29 U.S.C. § 621, et seq.

20.   Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §

1391(b) because a substantial part of the employment practices and other conduct

alleged to be unlawful occurred in this District.

                    ADMINISTRATIVE PREREQUISITES

21.   On or before August 31, 2020, Mr. Reddick filed a dual charge against HP

with both the U.S. Equal Employment Opportunity Commission (“EEOC”)

concerning HP’s policy and practice that targeted himself and other employees

aged 40 years and older through a pattern and practice of unlawful terminations.

The EEOC issued Mr. Reddick a letter confirming his right-to-sue under federal

laws on September 17, 2020 (the “Right to Sue”). Attached as Exhibit “A” is a

true and correct copy of the Right to Sue.

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                          FACTUAL ALLEGATIONS

Garfield Reddick Was a Talented and Experienced Employee That Loyally
Served HP for over 3 years, Until Being Discriminated Against Because of His
Age.

22.   Mr. Reddick was born on January 9, 1963, and is currently 57 years old.

23.   Mr. Reddick was first hired by HP as an independent contractor in July

2017. Subsequently, in February 2018, HP promoted Mr. Reddick to a full-time

employee. At the time of his termination, Mr. Reddick held the position of

Technical Solutions Consultant III. Mr. Reddick worked out of HP’s Alpharetta,

Georgia location. Throughout his employment with HP, Mr. Reddick performed

his duties in a satisfactory and competent manner. He consistently received

positive performance reviews, salary increases, and bonuses.

24.   Shortly after he was an employee of HP, the company began to discriminate

against Mr. Reddick because of his age. Specifically, HP denied him career

advancement opportunities that were granted to younger less experienced and

qualified employees. On multiple occasions, Mr. Reddick requested that HP

provided him with trainings on HP’s technologies, including, Virtual Connect,

OneView, and GreenLake. HP repeatedly denied Mr. Reddick the opportunity to

participate in these trainings that would have afforded him better job opportunities

at HP. On information and belief, younger employees were provided with these

trainings.

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25.   HP repeatedly discriminated against Mr. Reddick by denying him

promotions in favor of younger employees with less experience and inferior

qualifications. Mr. Reddick repeatedly informed his manager Chiquita Valdez that

he was interested in becoming a team lead. On at least one occasion, Mr. Reddick

formally requested to be team lead during a meeting with Valdez because he was

performing team lead tasks and duties. Additionally, HP employees would contact

Mr. Reddick with questions they had about their projects which a team lead would

normally answer.

26.   Despite Mr. Reddick’s experience and willingness to take over team lead

duties, HP refused to promote him to the team lead position. On information and

belief, HP repeatedly promoted younger employees to the team lead position. For

instance, almost immediately after hiring a much younger employee by the name

of Daniel Foreman in February 2018, HP promoted Foreman to team lead. Though

Mr. Reddick did not know Foreman’s birthdate, he appeared to be in his early

twenties and had just graduated from college. In comparison, at the time, Mr.

Reddick had over 20 years of experience as an engineer and had worked for major

technology companies. Yet, HP promoted the much younger Mr. Foreman, despite

Mr. Reddick’s vast experience and superior qualifications.

27.   Furthermore, on or about December 12, 2019, Mr. Reddick applied for the

position of Solution Center Technical Consultant in HP’s GreenLake technologies

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– a position where he was eminently qualified. HP refused to hire him for the

position for no other discernable reason but for his age.

28.   HP’s discriminatory treatment to its older employees became a

companywide unwritten policy. Comments directed to age protected workers such

as, “when are you planning on retiring,” “You must be getting ready to retire,” and

others were commonplace throughout HP.              The unwritten policy was so

consistently applied that it was understood at HP that if there was another wave of

workforce reductions HP would target the age protected employees first.

29.   In fact, between the July 1, 2012 and February 21, 2017, there were 29 age

discrimination complaints against HP just in California.

30.   Sometime in 2012, HP began deploying its WFR – which was a scheme to

terminate older employees in favor of younger ones. On or about February 1,

2016, HP updated its WFR and continued deploying it to terminate its older, higher

paid employees and replace them with younger, lower paid employees.

31.   HP’s WFR involuntarily terminates employees on a rolling basis. Although

the WFR purports to lay off employees on a neutral basis, it actually is a

companywide practice that disproportionately targets employees who are 40 years

of age or older – a protected class – for termination. HP stated that its purpose in

instituting the WFR was to realign its “organization to further stabilize the business

and create more financial capacity to invest in innovation, but it’s not enough. If

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[HP is] to position [itself] as the industry leader for the future, then [HP] must take

additional actions that, while tough, are necessary to move [its] business forward.

These actions include a reduction in [HP’s] global workforce.”

32.    In May 2020, HP was still constantly eliminating the jobs of older, age-

protected employees pursuant to its WFR, like Mr. Reddick, and actively replacing

them with younger employees. On or about May 14, 2020, Mr. Reddick was

notified by his manager that his employment was being terminated pursuant to the

2016 WFR, and that his termination date would be May 22, 2020.                He was

furnished a “Notification of Severance Materials,” pursuant to which Mr. Reddick

was informed that he would have two weeks as part of his “redeployment period”

to find another job with HP. If he was able to successfully find another position

during that time, then he would be allowed to continue to work without

interruption.   If he was not able to find another position at HP within the

redeployment period, then he would be terminated and the 60-day “Preferential

Rehire Period” would commence.

33.    During the WFR’s 60-day “Preferential Rehire Period,” Mr. Reddick would

be allowed to apply for jobs within HP, and if he was selected then he would be re-

hired without having to undertake the approval process normally required for a

rehire. During this period, Mr. Reddick applied for nine jobs for which he was

imminently qualified. For instance, on May 13, 2020, Mr. Reddick applied for the

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position of Management Services Tier 2 in the division of Greenlake. HP refused

to hire Mr. Reddick.

34.    Mr. Reddick applied for approximately eight other jobs with HP for which

he was well qualified, but he was not hired because of his age. When HP

terminated Mr. Reddick, HP declined to terminate many of his colleagues and

instead transferred some of Mr. Reddick’s team members to a different shift.

Based on information and belief, the majority of employees transferred to a

different shift in lieu of termination were under the age of 40 years old.

35.    At the time of Mr. Reddick’s termination, HP terminated approximately 25

employees within a single “decisional unit” identified by HP pursuant to the WFR.

Approximately eighteen of these terminated employees (over 72%) in this same

decisional unit were over the age of 40 years of age.           As a result of HP’s

discrimination against Mr. Reddick because of his age, Mr. Reddick has incurred

significant amounts of lost wages and benefits, and he has suffered and continues

to suffer mental and emotional distress and anguish from the fact and manner of

his involuntary termination and ensuing unemployment resulting therefrom.

36.    Throughout his employment with HP, Mr. Reddick performed his duties in a

satisfactory and competent manner. But for the fact that he was 40 years of age or

older (“Age Protected Class”), Mr. Reddick would still be gainfully employed with

HP. In other words, because he was in the Age Protected Class he was targeted

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and ultimately terminated pursuant to the WFR, and so too were HP’s other

employees in the Age Protected Class.

HP’s Employees Were Older, More Experienced, and Therefore More
Expensive than the Employees at HP’s Competitors.

37.    In 2012, the median age of HP’s workforce was 39 years old, the oldest in

the tech industry. With one-half of its workforce over the age of 39, HP’s labor

costs were higher than other tech companies. HP employees with 10-19 years of

experience are paid an average of just over $97,000 annually while employees with

20 or more years of experience are paid an average of just over $110,000 annually.

By contrast, HP employees with less than 1 year of experience are paid an average

of just over $64,000 while employees with 1-4 years of experience are paid an

average of just over $65,000.

HP’s Workforce Reduction Plan Sought to Replace Older, Experienced
Employees with Younger, Cheaper Ones.

38.    As referenced above, HP terminates its employees in a so-called structured

lay-off that HP calls Workforce Reduction Plan.

39.    HP has stated that its purpose in instituting the Workforce Reduction Plan

was to realign its “organization to further stabilize the business and create more

financial capacity to invest in innovation, but it’s not enough. If [HP is] to position

[itself] as the industry leader for the future, then [HP] must take additional actions




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that, while tough, are necessary to move [its] business forward. These actions

include a reduction in [HP’s] global workforce.”

40.    HP Co. utilized its Workforce Reduction Plan since 2012, and some version

of that plan continues to this day. While the Workforce Reduction Plan was

revised in 2016 and 2019, the different versions of the Workforce Reduction Plan

are not materially different. HP utilized the same Workforce Reduction Plan for

both HPE and HP, Inc. to eliminate employees in the Age Protected Class.

41.    HPE and HP, Inc. worked together to coordinate efforts to implement the

Workforce Reduction Plan.

42.    On October 9, 2013, in anticipation of continuing deployment of its

Workforce Reduction Plan, HP’s then-CEO Meg Whitman described HP’s staffing

objectives at the company’s “Hewlett-Packard Securities Analyst Meeting”.

Whitman explained that HP was aggressively seeking to replace older

employees with younger employees.               On this topic, some of Whitman’s

comments include, but are not limited to:

       •     “. . . a question that is actually completely relevant for all large-
       cap IT companies, which is how do you keep up with this next
       generation of IT and how do you bring people into this company for
       whom it isn’t something they have to learn, it is what they know.”

       •      “. . . we need to return to a labor pyramid that really looks like a
       triangle where you have a lot of early career people who bring a lot of
       knowledge who you’re training to move up through your organization,
       and then people fall out either from a performance perspective or
       whatever.”
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       •      “And over the years, our labor pyramid . . . [has] become a bit
       more of a diamond. And we are working very hard to recalibrate and
       reshape our labor pyramid so that it looks like the more classical
       pyramid that you should have in any company and particularly in ES.
       If you don’t have a whole host of young people who are learning how
       to do delivery or learning how to do these kinds of things, you will be
       in real challenges.”

       •      “So, this has a couple of things. One is we get the new style of
       IT strength and skills. It also helps us from a cost perspective . . . if
       your labor pyramid isn’t the right shape, you’re carrying a lot of extra
       cost. The truth is we’re still carrying a fair amount of extra costs
       across this company because the overall labor pyramid doesn’t look
       the way it should.”

       •      “Now, that’s not something that changes like that. Changing
       the shape of your labor pyramid takes a couple of years, but we are on
       it, and we’re amping up our early career hiring, our college hiring.
       And we put in place an informal rule to some extent which is, listen,
       when you are replacing someone, really think about the new style of
       IT skills.”

       •      “That should be it. I mean, that will allow us to right size our
       enterprise services business to get the right onshore/offshore mix, to
       make sure that we have a labor pyramid with lots of young people
       coming in right out of college and graduate school and early in their
       careers. That’s an important part of the future of the company . . . This
       will take another couple of years and then we should be done.” 2

43.    HP’s CFO Cathie Lesjak (“Lesjak”) explained the scheme as a way to

proactively shift the makeup of HP’s workforce towards low-level recent

graduates:



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  Judge Freeman characterized Ms. Whitman’s comments as “startling.” See Enoh
v. Hewlett Packard Enter. Co. (N.D.Cal. July 11, 2018, No. 17-cv-04212-BLF)
2018 U.S.Dist.LEXIS 115688, at *32.
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       “And the way I think about the restructuring charge . . ., it’s basically
       catching up. It’s actually dealing with the sins of the past in which we
       have not been maniacally focused on getting the attrition out and then
       just agreeing to replace anyway and not thinking through it carefully
       and thinking through what types of folks we hire as replacements . . .
       We hire at a higher level than what we really need to do. And the
       smarter thing to do would be to prime the pipeline, bring in fresh new
       grads, and kind of promote from within as opposed to hiring a
       really experienced person that is going to be much more expensive.”

44.    HP’s Manager of Employee Relations for the Americas, Sheri Bowman,

explained that it was critical for some HP organizations to reduce expenses, and

one way they had done so was by changing the composition of their workforce:

       The focus within the different organizations has evolved a lot over the
       past four or five years because of the turnaround that we have been
       trying to achieve within the organization. And so there is a
       tremendous focus on increasing revenue, increasing client satisfaction
       to help increase revenue and reducing, you know, overall expenses.
       So that has just resulted in some organizations modifying their
       workforce to try to get to the right labor pyramid to achieve their
       business goals.

45.    Echoing the policy espoused by Ms. Whitman, one Senior Vice President,

Chief Information Officer stated about the WFR “we’re getting rid of the old

engineers and bringing in young engineers in their place.”

46.    Consistent with HP’s policy of eliminating the older members of its

workforce in favor of younger cheaper workers, the employee selected to be

terminated pursuant to the WFR is initially recommended by the managerial

employees.     That manager or managers then notifies HP’s human resource

department of their selection.     The selection is then evaluated by the human
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resources generalist to assure the selection is the “right fit” for termination,

meaning if the selection conforms with Meg Whitman’s directive to terminate

older employees while retaining the younger employees. Notably, the selection is

not based on merit or performance. Rather, if the selected employee is old enough,

then the human resource department approves the selection and notifies the

Workforce Management Team to prepare the proper paperwork to be delivered to

the selected employee by his or her manager(s). Conversely, if the selection is too

young, then the manager or managers are asked to select another employee.

47.    Further, internal HP documentation heavily favors employees from the

younger “millennial” generation to other older generations. To HP, employees

from the millennial generation were highly desirable; as such, HP placed an

emphasis on retaining and attracting as many “millennial” generation employees

while terminating or retiring employees from the older generations.

48.    On or about February 1, 2016, HP continued deploying its WFR, which

continued the scheme specifically targeted to terminate its older and replace them

with younger, lower paid employees. HP’s Workforce Reduction Plan

involuntarily terminates employees on a rolling basis. Although the WFR Plan

purports to lay off employees on a neutral basis, it actually is a companywide

mechanism     by   which   HP    carries    out   its   above-described   policy   of




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disproportionately and discriminatorily targeting employees in the Age Protected

Class for termination.

49.    HP maintains meticulous records about each employee, including his or her

date of birth and age. Pursuant to HP’s policy, those high-level HP employees

responsible for carrying out the implementation of the WFR used this age data in

order to act with the specific intent to terminate those employees of the Age

Protected Class, not for any work-related reason.

50.    As an example, as of 2015, out of all of the employees HP terminated

pursuant to the WFR in a single State, 85% of those terminated were age protected

employees (i.e., age 40 or older).

51.    Further, pursuant to the Older Workers Benefit Protection Act (“OWBPA”)

in a group layoff (which the Workforce Reduction Plan was), HP was required to

advise those affected employees of who in their “Decisional Unit” was also laid off

and who was kept, identified by title and age.      29 C.F.R. ⸹ 1625.22 defines

“Decisional Unit” as “that portion of the employer's organizational structure from

which the employer chose the persons who would be offered consideration for the

signing of a waiver and those who would not be offered consideration for the

signing of a waiver. The term ‘decisional unit’ has been developed to reflect the

process by which an employer chose certain employees for a program and ruled

out others from that program.”

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52.    The attachments identifying the “decisional unit” that HP provides to those

employees it selects for the WFR are grossly inadequate, deceptively small, and

intended to mislead the Age Protected Class in violation of the OWBPA. For

instance, the WFR is a structured layoff and it applies to all of HP, regardless of its

hundreds of different divisions and departments.              When HP began its

implementation of the WFR in 2012, it had 350,000 employees. Since that time,

HP has splintered off into several different joint companies’, yet still employing

the exact same WFR as one another.

53.    Despite the WFR applying to all of HP’s employees (and by extension all of

the nation and the state of Georgia), it only provides the above-referenced

necessary disclosure for an absurdly small portion of the company so that its

employees do not have a complete picture of HP’s discriminatory practices.

54.    As part of the WFR, thousands of now former employees selected for

termination nationwide are offered a small severance in exchange for signing a

“Waiver and General Release Agreement.” But, contrary to the requirements of

the OWBPA, the HP employees selected for the WFR are provided a ridiculously

small list of the employees and ages of those who are terminated. Rather than

providing a larger department or division wide list comprising the true “decisional

unit,” HP provided each terminated employee only a tiny fraction of this list,

sometimes containing less than 10 employees/ages.         This sparse, deceptive, and

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incomplete disclosure clearly violates the OWBPA. Thus, contrary to the false and

express representations HP made to its age protected employees, every employee

in the Age Protected Class who signed HP’s Waiver and General Release

Agreement may nevertheless participate in this class action because the release is

unenforceable pursuant to the OWBPA.

55.    Notwithstanding the foregoing, even a preliminary investigation into those

sparse and incomplete disclosures of the ages of employees selected for

termination and the signing of a Waiver and General Release Agreement reveal

that older employees were substantially overrepresented for selection for

termination under the WFR.       In other words, available data shows that older

workers were substantially more likely than younger workers to be terminated

under the WFR.

HP Executed the Workforce Reduction Plan That Targeted Older Employees.

56.    By May of 2020, HP was still consistently eliminating the jobs of older, age-

protected employees, like Mr. Reddick, and actively replacing them with younger

employees.

57.    Consistent with HP’s strategy to eliminate the older members of its

workforce in favor of younger workers, when selecting which employee to

terminate under its WFR, HP’s goal is to single out those workers who it thinks

“will not fit the bill long term in [the] team growing to [an advisory] position.”

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58.    Although allegedly neutral on its face, HP’s terminations under its WFR are

actually targeted to discriminate and eliminate older, age-protected workers in

grossly disproportionate numbers.      The WFR does not take into account

performance reviews or evaluations, so the employee selected for the Workforce

Reduction Plan is not based on merit, but based merely on age.

59.    HP’s Workforce Reduction Plan is implemented on a rolling basis. That is,

it does not terminate HP’s employees all at once. But, it serves as a mechanism for

HP to terminate members of a protected class of employees whenever it wants. HP

is still engaged in the systematic elimination of its age protected class of

employees.    That is, the discriminatory acts originally commenced with the

implementation of the WFR in 2012 and those discriminatory acts continue to this

day, perpetrated by the decisionmakers of HP’s WFR.

HP’s “Fake” Measures that Purportedly Helped Terminated Employees in the
Age Protected Class to Retain Employment or be Rehired in a Different
Capacity were Illusory.

60.    Theoretically, HP employees terminated under the Workforce Reduction

Plan were and are “encouraged” to apply for other jobs for a limited amount of

time. Specifically, HP has a two-week “Redeployment Period” and a 60-day

“Preferential Rehire Period.”

61.    During the two-week Redeployment Period, if an employee was able to

successfully find a job at HP, s/he would be allowed to continue work without

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interruption. If a HP employee was unable to find another job within his/her two-

week Redeployment Period, however, that employee enters into the “Preferential

Rehire Period.” The Preferential Rehire Period was 60 days. If an HP employee

was hired during the Preferential Rehire Period, then s/he would be rehired without

having to undertake the approval process normally required for a rehire. While the

Preferential Rehire Period is supposed to be neutral in its application, it is not

applied neutrally because it adversely impacts disproportionate numbers of age

protected employees. In fact, during the Preferential Rehire Period, HP’s older

employees are almost never rehired. If older employees are even offered a job, the

job is rarely, if at all, comparable to the one that employee held before he or she

was terminated.

62.    Since August 2013, HP’s Human Resources has incorporated written

guidelines that require HP to hire mostly younger employees. Specifically, those

guidelines state: “New corporate requisition policy requires 75% of all External

hire requisitions be ‘Graduate’ or ‘Early Career’ employees.” Thus, age-protected

employees who were terminated under the WFR and who sought rehiring under the

Preferential Rehiring Period, were fighting an uphill battle against HP’s inherent

prerogative to hire a disproportionate percentage of younger “early career” and




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“recent graduates”. 3 Thus, available job postings included discriminatory language

that made clear that HP was looking for a “younger” employee to fill those

available jobs. Accordingly, age-protected employees were rejected for rehiring

under the Preferential Rehire Period provision of the WFR in disparately greater

numbers than their younger peers who applied either externally or pursuant to the

Preferential Rehire Period provision. Older employees were well aware of the fact

that many of their age-protected peers had been selected for termination under the

WFR. In the engineering support group, older employees would advise each other

not to disclose their age or how long they had worked at HP in order to avoid being

selected for termination under the WFR.

63.    On or about May 11, 2020, Mr. Reddick was notified by his manager that his

employment was being terminated pursuant to the WFR, and that his termination

date would be May 22, 2020. Attached as Exhibit “B” and incorporated herewith is

a true and correct copy of the Notification and Severance Materials notice HP sent

to Mr. Reddick. HP expressly informed Mr. Reddick that “Two weeks after your

designated last day of employment, a Waiver and General Release Agreement will

be sent to your personal email address. You must sign and return this waiver,

unaltered, per the instructions stated on the waiver agreement.” (See, Exhibit “B”.


3
 Notably, the Equal Employment Opportunity Commission views the use of “new
grad” and “recent grad” in job notices to be illegal because it discourages older
applicants from applying.
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Emphasis added.) Accordingly, Mr. Reddick was presented with HP’s unlawful

and deceptive Waiver and General Release Agreement and informed he had until

July 21, 2020 to sign the agreement and waive/release all of his claims in exchange

for $3,367.38. (See, Exhibit “B”).

64.    In his Notification and Severance Materials, was an attachment identifying

only by job title and age those employees that had been selected to participate in

the WFR. And, although its application is worldwide, Plaintiff only received a

very limited list of employees who were selected and not selected to participate in

the WFR. To accomplish its deceit, HP uses deceptive language in its “Attachment

A” to the Notification of Termination and Severance Materials.” As an example,

the OWBPA disclosure states the following:

       Enclosed is a listing of the ages and job titles of the Company’s
       employees in the employee’s decisional unit of the employee’s
       organization, as of 05/11/2020, who are (1) eligible for the WFR Plan
       or MSA Program, but have not been selected to be terminated and
       have not been offered severance benefits or (2) eligible for the WFR
       Plan or MSA Program and have been selected to be terminated and
       offered severance benefits pursuant to the respective Plan or Program.

Ex. B (emphasis added).

65.    Although it is utilized on a rolling basis, HP makes its layoff through the

WFR seem like an isolated event through the following language, “as of

05/11/2020. […]”




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66.    Given its sophistication, HP knew or should have known that its Waiver and

General Release Agreement that it pressured its terminated age-protected

employees to sign was an illegal and unenforceable agreement as against public

policy. Still, HP used this illegal agreement to try to unlawfully pressure its age

protected employees – including Mr. Reddick – into waiving all of their claims

against HP under the false pretense that it had terminated fewer age-protected

employees than it truly had. Thus, Mr. Reddick was injured by HP’s unlawful

Waiver and General Release Agreement in that he did not receive any severance

compensation because he was unaware what the actual number of age-protected

employees were terminated by HP. Had Mr. Reddick known that the Waiver and

General Release would be unenforceable against him, he would have taken the

offered severance and pursued his legal rights.       Because of the incomplete

information that Mr. Reddick and those other employees selected for the WFR, the

OWBPA disclosure made it impossible to knowingly and voluntarily chose

whether to sign the Waiver and Release Agreement. Accordingly, Mr. Reddick

and all age-protected employees terminated by HP were first injured by HP’s

unlawful age discrimination and then injured again by not electing to take the

offered severance payments as a result of the deceptively unlawful disclosure and

severance documents. Thus, and as shown in greater detail in paragraph 94 below,




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Mr. Reddick’s claims clearly meet the typicality requirement for ADEA collective

actions.

67.    Under the WFR, from May 11, 2020 to May 22, 2020, Mr. Reddick had a

“Redeployment Period” where he could attempt to transition into a different

position without interruption. But, if he was not redeployed to another position,

his redeployment would end on May 22, 2020, and then Mr. Reddick would enter

the 60-day “Preferential Rehire Period,” where he would be allowed to apply for

jobs not yet visible to external candidates, and, if hired, not have to undertake the

normal approval process required by HP to become an employee.

68.    Mr. Reddick was informed that he would have the two-week deployment

period and then the 60-day Preferential Rehire Period to find another job at HP. If

he was able to successfully find another position during that time, then he would be

allowed to continue to work without interruption. If he was not able to find

another position at HP within the redeployment period, then he would be

terminated and the 60-day “Preferential Rehire Period” would commence.

69.    Mr. Reddick applied for at least nine jobs at HP during the Redeployment

and Preferential Rehire Period as well as outside the aforementioned time periods.

But, Mr. Reddick has been rejected from all of these positions.                HP’s

discriminatory practices against Mr. Reddick and the Age Protected Class continue

to this day. To wit, they do not rehire members of the Age Protected Class during

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the Preferential Rehire Period as well as outside the Preferential Rehire Period.

The following are examples of those jobs for which he applied but for which HP

refused to hire Mr. Reddick:

       a.   On or about 12/12/2019 Mr. Reddick applied for the position of
       Technical Consultant at GreenLake, but was denied that position.

       b.    On or about 5/13/2020 Mr. Reddick applied for the position of
       GreenLake Management Services Tier 2, but was denied this position
       and informed by a manager that Mr. Reddick was no longer a
       candidate for the position.

       c.     On or about 7/3/2020 Mr. Reddick applied for the following
       positions: Exchange SME 1, Communications Specialist, and
       Technical Consultant. But, Mr. Reddick was denied each of these
       positions.

       d.     On or about 7/15/2020, Mr. Reddick applied for the following
       positions: Senior Network Software Engineer, Test Engineer, and IT
       Specialist, PMO Center of Excellence. But, Plaintiff was was denied
       each of these positions.

       e.     On or about 7/21/2020, Mr. Reddick applied for the following
       positions: Cloud Networking Solutions Consultant and Production
       Test Technician, but was also denied these positions.

70.    Other HP employees in the Age Protected Class have also applied for

numerous job positions during the Redeployment and Preferential Rehire Period as

well as outside the aforementioned time periods.        Due to its discriminatory

practices, however, HP does not hire these individuals, which continue to this day.

71.    While the Redeployment and Preferential Rehire Period is supposedly to be

neutral in its application, it is not applied neutrally. Rather, it systematically

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targets and adversely impacts disproportionate numbers of age protected

employees.

72.    In fact, during the Preferential Rehire Period, HP’s older employees are

almost never rehired. If older employees are even offered a job, the job is rarely, if

at all, comparable to the one that employee held before he or she was terminated.

And, worse yet, after the Preferential Rehire Period is over, per HP policy that age

protected employee can never be rehired by HP again. This policy continues to

cause injury to Mr. Reddick as he is actively continuing to seek gainful

employment and reemployment with HP. But, pursuant to HP’s own internal

policy, is prohibited from working at HP again, severely limiting his options for

gainful employment.

73.    Moreover, since August 2013, HP’s Human Resources Department has

incorporated written guidelines that require HP to hire mostly younger employees.

Specifically, those guidelines state: “New corporate requisition policy requires

75% of all External hire requisitions be ‘Graduate’ or ‘Early Career’ employees.”

Thus, HP employees in the Age Protected Class who were terminated under the

WFR and who sought rehiring under the Preferential Rehiring Period, were




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fighting an uphill battle against HP’s inherent bias to hire a disproportionate

percentage of younger “early career” and “recent graduates.” 4

74.    Thus, available job postings included discriminatory language that made

clear that HP was looking for a “younger” employee to fill those available jobs.

Accordingly, age-protected employees were rejected for rehiring under the

Preferential Rehire Period provision of the WFR in disparately greater numbers

than their younger peers who applied either externally or pursuant to the

Preferential Rehire Period provision.

75.    HP also implemented an early retirement program in which employees of a

certain age and tenure are eligible to “voluntarily” retire early. If the employee

does not choose voluntary early retirement, he or she may soon be unemployed.

This retirement program presents age-protected employees with a Hobson’s

choice: either participate in the voluntary retirement program or risk being

terminated under the Workforce Reduction Plan. The aforementioned dilemma

works to HP’s advantage and to the Age Protected Class’ detriment.

76.    So, in addition to the WFR, when the Age Protected Class selected for the

WFR are looking for jobs they are purposefully deterred from applying because of

the job descriptions insinuating that only younger employees would be considered.


4
 Notably, the Equal Employment Opportunity Commission views the use of “new
grad” and “recent grad” in job notices to be illegal because it discourages older
applicants from applying.
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77.    Further, HP intends that a number of employees will accede to the early

retirement program because those same employees will fear that otherwise they

will be selected for the WFR.

HP Has Deliberately Avoided Confronting the Reality that Its Policies
Disproportionately Impact Age Protected Employees.

78.    Older employees were well aware of the fact that many of their age-

protected peers had been selected for termination under the WFR. By way of

illustration, in the engineering support group, older employees would advise each

other not to disclose their age or how long they had worked at HP in order to avoid

being selected for termination under the WFR.

79.    HP has an “Adverse Impact Team” that evaluates various HP employment

practices to determine whether or not those practices impact a significant number

or percentage of a particular protected class of employees – e.g., gender, race, etc.

Although HP has an “Adverse Impact Team,” for unknown reasons, it did not and

does not investigate the facts related to whether or not the WFR adversely affects a

class of age protected employees disproportionately.         This omission further

evidences HP’s callous disregard for its age-protected employees.

80.    According to its “HP 2016 Sustainability Report,” HP provides workforce

data regarding its diversity in the United States, but tellingly provides no facts

about its age-protected workforce data.



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81.    On or about February 2017, HP set forth a “diversity mandate” when it hires

outside attorneys to defend it from lawsuits. If a law firm does not fit HP’s

selective “diversity” requirements then it can withhold ten percent (10%) of the

firm’s attorneys’ fees. Tellingly, “age” is not one of the criteria or factors included

in this “diversity mandate.” This omission further evidences HP’s devaluation of

age-protected class of persons.

82.    According to a January – February 2017 article published by AARP, HP has

received more allegations of age discrimination than any other technology

company in recent years. See Exhibit C.

                    CLASS/COLLECTIVE ALLEGATIONS

83.    Plaintiff sues on his own behalf and on behalf of a Class or Collective of

persons similarly situated pursuant to Fed. R. Civ. P. Rule 23.

84.    Plaintiff is a representative of the following collective for the purposes of the

Age Discrimination in Employment Act of 1967, 29 U.S.C. sections 621-634

(“ADEA”):

                                The Nationwide Class

       All current, former, or prospective employees who worked for HP in
       the United States between November 4, 2016 and present for
       individuals terminated in deferral states; and on or after March 4,
       2017 to present for individuals in non-deferral states; and who were at
       least 40 years old at the time HP selected them for termination under
       HP’s Workforce Reduction Plan. (the “Nationwide Class”). Excluded
       from the Nationwide Class are those individuals who “opt-in” to the
       Forsyth, et al. v. HP, Inc., et al., case number 5:16-cv-04775-EJD.
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85.    This action has been brought and may properly be maintained as a collective

action, pursuant to 29 U.S.C. § 216(b) and for the reasons explained herein.

Counts for violations of the ADEA may be brought and maintained as an “opt-in”

collective action pursuant to 29 U.S.C. § 216(b), for all claims asserted by

Plaintiff, because their claims are similar to the claims of the members of their

respective Nationwide Collective. Plaintiffs and the members of the Nationwide

Class are similarly situated because, among other things, (i) they all worked for

Defendants and are all aged 40 and older, (ii) they are all residents of the United

States, (iii) they were all subjected to the same company-wide policies of age

discrimination, (iv) they were all subjected to the same company-wide policies that

adversely impacted them because of their age, (v) they were all terminated

pursuant to the WFR and the other of Defendant’s policies cited in this Complaint

which disproportionately resulted in the termination of age-protected workers,

WFR Plans because of their age, (vi) they were all never rehired by HP; and (vii)

they were all provided the same deceptive disclosure and Waiver and General

Release Agreement that violated the OWBPA along with their release agreement.

For instance, HP used its policies and practices (e.g., its Workforce Reduction

Plan, and accompanying Preferential Rehire Period, rehiring practices, deceptive

OWBPA disclosure) to subject Plaintiff and each member of the Nationwide Class




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to identical unfair, unlawful, deceptive, and/or fraudulent business practices, acts,

and/or omissions.

86.    Mr. Reddick was injured not only by HP’s unlawful discrimination as set

forth above, but also by HP’s deceptively unlawful Waiver and General Release

Agreement, thus, his claims are “typical” of all of those others in the Age Protected

Class, regardless of whether or not they ultimately signed the unlawful Waiver and

General Release Agreement. (See, Wells v. Preferred Fin. Sols., No. 5:11-CV-

422(MTT), 2013 U.S. Dist. LEXIS 176896, at *23 (M.D. Ga. Dec. 17, 2013)

(where some putative class members signed an arbitration agreement, “the fact that

some putative class members may be subject to this special defense does not

preclude class certification.”); see, Mora v. Harley-Davidson Credit Corp., No. 1:

08-cv-01453-AWI-BAM, 2012 U.S. Dist. LEXIS 49636, at *39 (E.D. Cal. Apr. 6,

2012), (holding that the fact that some putative class members signed release and

arbitration agreements does not prevent a finding of commonality and

predominance sufficient for certification.); see, Herrera v. LCS Fin. Servs. Corp.,

274 F.R.D. 666, 681 (N.D.Cal. 2011) (the fact that some members of a putative

class have released claims against a defendant does not bar class certification.) cf.

Bond v. Fleet Bank (RI), N.A., 2002 U.S. Dist. LEXIS 22324, 2002 WL 31500393,

at *7 (D.R.I.) (noting valid arbitration agreements with some putative class

members may require the creation of subclasses or the elimination of certain

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members from the class, but they did not prevent the court from certifying the

class).

87.       Mr. Reddick’s claims clearly meet the “typicality” standard for ADEA

collective actions and the fact that some putative class members signed the Waiver

and General Release Agreement does not defeat certification here. Plus, while,

“commonality” and “predominance” are not even requirements for certification of

ADEA collective actions, Mr. Reddick’s claims clearly raise predominant common

questions concerning HP’s unlawful age discrimination policies and practices and

its policy and practice of attempting to obtain waivers/releases of its age-protected

employees’ claims under false pretenses. In other words, Plaintiff alleges a single

scheme of age discrimination initiated at the very top and carried out through HP’s

uniform policies/practices across the entire structure of Defendants’ organization

that continues to this day, regardless of where each individual worked or to which

manager the individual reported.

88.       The following common questions apply to these employees, thus confirming

they are similarly situated:

          •     Whether HP unlawfully terminated members of the Nationwide
          Collective in violation of the ADEA;

          •     Whether HP’s policies or practices relating to the WFR were
          based on discriminatory intent towards employees over 40 who were
          otherwise qualified for those positions;



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       •     Whether HP’s WFR had a disproportionate adverse impact on
       its employees aged 40 or older;

       •     Whether HP’s policy of selecting employees to terminate under
       its WFR had a disproportionate adverse effect on those employees
       aged 40 or older;

       •     Whether HP’s termination selection policy (i.e., the WFR) was
       a substantial factor in causing the Class member terminations (i.e.,
       harm);

       •     Whether HP failed to adequately investigate, respond to, and/or
       appropriately resolve instances of age discrimination in the
       workplace;

       •     Whether HP failed to implement policies and practices to
       prevent discrimination against older employees.

       •     Whether an alternative or modification to the WFR existed that
       would have had less of an adverse impact on employees aged 40 years
       and older;

       •      Whether HP’s policy and practice of disproportionately
       refusing to rehire age protected employees who had been terminated
       pursuant to the WFR violated the ADEA; and

       •      Whether HP’s policy and practice of failing to provide the
       proper “decisional unit” of employees and ages for employees
       selected for a severance/waiver agreement pursuant to the Workforce
       Reduction Plan violated the OBPA or was an unfair, unlawful,
       deceptive, and or fraudulent business practice – particularly when
       coupled with HP’s efforts to pressure its age-protected employees to
       sign its Waiver and General Release Agreement.

       •     Whether the Waiver and Release Agreement was capable of
       being “knowing and voluntarily” agreed to.
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89.    Plaintiff is also a representative of the following Georgia Statewide class:

                                 The Georgia Class

       All current, former, or prospective employees who worked for HP in
       the State of Georgia between November 10, 2018 and present who
       were at least 40 years old at the time HP selected them for termination
       under HP’s Workforce Reduction Plan. (“Georgia Class”).

90.    This action has been brought and may properly be maintained as a class

action, under Fed. R. Civ. P. Rule 23 because a well-defined community of interest

in the litigation exists and because the proposed class is easily ascertainable, and

for the other reasons explained in this Class Action Complaint.

91.    Numerosity: The persons who comprise the Georgia Class are so numerous

that joinder of all such persons would be unfeasible and impracticable.           The

Georgia Class consists of hundreds of former employees who were notified of their

termination when they were age 40 and older.

92.    Commonality: Common questions of fact or law arising from HP’s conduct

exist, as described in this Complaint, as to all members of the Georgia Class which

predominate over any questions solely affecting individual members of the

proposed class, including but not limited to:


       •     Whether HP’s policies or practices relating to the WFR were
       based on discriminatory intent toward its Georgia employees aged 40
       and over who were otherwise qualified for those positions;

       •     Whether HP’s WFR had a disproportionate adverse impact on
       its Georgia employees aged 40 or older;
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       •     Whether HP’s policy of selecting employees to terminate under
       its Workforce Reduction Plan had a disproportionate adverse effect on
       those Georgia employees aged 40 or older;

       •       Whether HP’s termination selection policy (i.e., the WFR) was
       a substantial factor in causing the Georgia Class member terminations
       (i.e., harm);

       •     Whether HP failed to adequately investigate, respond to, and/or
       appropriately resolve instances of age discrimination in the workplace
       in Georgia;

       •     Whether HP failed to implement policies and practices to
       prevent discrimination against older employees in Georgia.

       •     Whether an alternative or modification to the WFR existed that
       would have had less of an adverse impact on employees in Georgia
       aged 40 years and older; and

       •     Whether HP’s policy and practice of failing to provide the full
       list of employees and ages for employees selected for a
       severance/waiver agreement pursuant to the WFR violated the
       OWBPA or was an unfair, unlawful, deceptive, and or fraudulent
       business practice under Georgia law – especially when coupled with
       HP’s attempt to persuade its age-protected employees to sign its
       Waiver and General Release Agreement.

93.    HP’s defenses, to the extent that any such defense is applied, are applicable

generally to the Georgia Class and are not distinguishable to any degree relevant or

necessary to defeat predominance in this case. Thus, for all of the reasons stated in

this Complaint above, common issues predominate.

94.    Typicality: In addition to all of the reasons already stated above, Plaintiff’s

claims are typical of the claims for the members of the Georgia Class all of whom

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have sustained and/or will sustain injuries, including irreparable harm, as a legal

(proximate) result of HP’s common course of conduct as complained of in this

operative complaint. Plaintiff’s class claims are typical of the claims of Georgia

Class because HP used its policies and practices (i.e., its WFR, and the Preferential

Rehire Period therein,) to subject Plaintiff and each member of the Georgia Class

to identical unfair, unlawful, deceptive, and/or fraudulent business practices, acts,

and/or omissions.

95.    Adequacy: Plaintiff, on behalf of all others similarly situated, will fairly and

adequately protect the interests of all members of the Georgia Class in connection

with which they have retained competent attorneys. Plaintiff is able to fairly and

adequately protect the interests of all members of the Georgia Class because it is in

Plaintiff’s best interests to prosecute the claims alleged herein to obtain full

compensation due to them. Plaintiff does not have a conflict with either the

Georgia Class members, and his interests are not antagonistic to either of the

Georgia Class. Plaintiff has retained counsel who are competent and experienced

in representing employees in complex class action litigation

96.    Superiority: Under the facts and circumstances set forth above, class action

proceedings are superior to any other methods available for both fair and efficient

adjudication of the controversy. A class action is particularly superior because the

rights of each member of the Georgia Class, inasmuch as joinder of individual

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members of either Class is not practical and, if the same were practical, said

members of the Georgia Class could not individually afford the litigation, such that

individual litigation would be inappropriately burdensome, not only to said

citizens, but also to the courts of the State of Georgia.

97.    Litigation of these claims in one forum is efficient as it involves a single

decision or set of decisions that affects the rights of thousands of employees. In

addition, class certification is superior because it will obviate the need for unduly

duplicative litigation that might result in inconsistent judgment concerning HP’s

practices.

98.    To process individual cases would increase both the expenses and the delay

not only to members of the Georgia Class, but also to HP and the Court. In

contrast, a class action of this matter will avoid case management difficulties and

provide multiple benefits to the litigating parties, including efficiency, economy of

scale, unitary adjudication with consistent results and equal protection of the rights

of each member of the Georgia Class, all by way of the comprehensive and

efficient supervision of the litigation by a single court.

99.    This case is eminently manageable as a class. HP’s computerized records,

including meticulous payroll and personnel data, provide an accurate and efficient

means to obtain information on the effect and administration of the WFR en masse,




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including class-wide damages, meaning class treatment would significantly reduce

the discovery costs to all parties.

100. In particular, since HP is obfuscating the import of its WFR, misleading its

employees, suppressing their wages and mobility, the Georgia Class is neither

sophisticated nor legally knowledgeable enough be able to obtain effective and

economic legal redress unless the action is maintained as a class action. Given the

unlikelihood that many injured class members will discover, let alone endeavor to

vindicate, their claims, class action is a superior method of resolving those claims.

101. For the reasons already stated above, there is a community of interest in

obtaining appropriate legal and equitable relief for the statutory violations and

other improprieties, and in obtaining adequate compensation for the damages and

injuries which HP’s actions have inflicted upon Plaintiff and the Georgia Class.

102. There is also a community of interest in ensuring that the combined assets

and available insurance of HP are sufficient to adequately compensate the

members of the Georgia Class for the injuries sustained.

103. Notice of the pendency and any result or resolution of the litigation can be

provided to members of the Georgia Class by the usual forms of publication,

sending out to members a notice at their current addresses, establishing a website

where members can choose to opt-out, or such other methods of notice as deemed

appropriate by the Court.

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104. Without class certification, the prosecution of separate actions by individual

members of the Georgia Class would create a risk of: (1) inconsistent or varying

adjudications with respect to individual members of Georgia Class that would

establish incompatible standards of conduct for HP; or (2) adjudications with

respect to the individual members of the Georgia Class that would, as a practical

matter, be disparities of the interests of the other members not parties to the

adjudication, or would substantially impair or impede their ability to protect their

interest.

  FIRST CLAIM FOR RELIEF - AGE DISCRIMINATION UNDER ADEA

                 (On behalf of Plaintiff and the Nationwide Class)

105. Plaintiff incorporates by reference all Paragraphs of this Complaint as if

fully set forth herein.

106. At all times relevant to this case, Plaintiff and the Nationwide Class has been

at least 40 years of age and therefore protected by the ADEA, 29 U.S.C. §§ 621 –

634.

107. At all times relevant to this case, Defendants were “employers” within the

meaning of the ADEA, 29 U.S.C. § 630(b).

108. Although Plaintiff and the Nationwide Class have at all relevant times

successfully performed their jobs, and were terminated because of his age and

replaced by younger employees.

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109. Based on the above-described acts, practices, and omissions, Defendants

engaged in unlawful discrimination under the ADEA based on Plaintiff’s age.

110. Furthermore, Defendants’ illegal actions against Plaintiff and the

Nationwide Class were aimed at them because of their age, resulting in adverse

impacts to the terms and conditions of their employment.

111. Defendants’ above-described conduct was intentional and was motivated by

the ages of Plaintiff and the Nationwide Class members and constitutes a willful

violation of the ADEA.

112. Defendants knowingly and willfully engaged in the above-described conduct

and discriminatory termination of Plaintiff and the Nationwide Class on the basis

of their age. The EEOC charge placed HP on notice that a collective action was

forthcoming regarding its discriminatory practices perpetrated on Plaintiff and

those similarly situated that consistently continue to this day.

113. As a direct and proximate result of Defendants’ above-described actions,

Plaintiff and the Nationwide Class have suffered damages, including lost wages

and benefits, and they are entitled to economic damages, and attorneys’ fees and

costs as permitted by law.

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                             PRAYER FOR RELIEF

      Plaintiff, on behalf of himself individually and on behalf of the Class prays

for relief and judgment against Defendants and any later named defendant, jointly

and severally as follows:

      1.    Certification of this case as a collective action under the ADEA;

      2.    Certification of the case as a class action and appointment of Plaintiff

      as Class Representative for the United States Class and his counsel of record

      as Class Counsel;

      3.    Certification of the case as a class action and appointment of Plaintiff

      as Class Representative for the Georgia Class and his counsel of record as

      Class Counsel;

      4.    All damages to which Plaintiff and each member of the United States

      and Georgia Classes are entitled due to Defendants’ conduct, including, but

      not limited to, back pay, front pay, general and special damages for lost

      compensation and job benefits that they would have received but for the

      discrimination practices of Defendants;

      5.    For    restitution,   including,    without   limitation,   restitutionary

      disgorgement;

      6.    For affirmative or prospective relief;

      7.    For attorneys’ fees, expenses, and costs of suit;

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 8.    For pre-judgment and post-judgement interest;

 9.    Awarding such other and further relief, including but not limited to

 declaratory or injunctive relief; and

 10.   For all such other and further relief the Court may deem just and

 proper.

                    DEMAND FOR JURY TRIAL

 Plaintiff hereby demands a jury trial.

 DATED: November 10, 2020.

                                  Respectfully submitted,

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